                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

DORIS ANN SCOTT and ORIEL                       )
MOORE,                                          )
                                                )
                      Plaintiffs,               )
                                                )
v.                                              )      Case No.: 2:24-cv-04107-MDH
                                                )
TREVOR FOLEY, in his official and               )
individual capacity as Director of the          )
Missouri Department of Corrections, et al.,     )
                                                )
                      Defendants.               )

                                              ORDER

       Before the Court is Defendant Bryanne M. Bradshaw’s (“Defendant”) Motion to Stay

Proceedings (Doc. 88). Defendant has filed her suggestions in support (Doc. 89), Plaintiffs have

filed their suggestions in opposition (Doc. 91) and Defendant has filed a reply (Doc. 101). The

motion is now ripe for adjudication on the merits. For the reasons stated herein, Defendant’s

Motion to Stay Proceedings is DENIED.

                                       BACKGROUND

       This action arises from the death of a prisoner at the Jefferson City Correctional Center.

Plaintiff Doris Ann Scott is a resident of the State of Colorado and the biological mother of

Decedent Othel Moore, Jr. Plaintiff Oriel Moore is a resident of the State of Colorado and the

biological sister of the Decedent. Defendant Trevor Foley is an employee of the State of Missouri

and the Director of the Missouri Department of Corrections (“MDOC”). Defendant Kelly Morriss

is an employee of the State of Missouri and the Warden of the Jefferson City Correction Center

(“JCCC”). Defendant Centurion of Missouri, LLC is a limited liability company formed under

Missouri law that provided health care services at JCCC. Defendant Justin Davison is a resident


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of Missouri and an employee at the MDOC as the JCCC Corrections Emergency Response Team

(“CERT”) Field Commander. Defendants Justin M. Leggins, Jacob A. Case, Aaron C. Brown,

Gregory H. Varner, Bryanne M. Bradshaw, Ryan Williams, William Wells, Craig Glatzczak,

Zachary Kopp, Onyewuchi Nkwocha, and Sean Reynolds are all residents of Missouri and were

employed at MDOC as members of a MDOC CERT unit. Defendant Jennifer Long is a resident

of Missouri and was an employee of Defendant Centurion of Missouri, LLC.

       On December 8, 2023, CERT Defendants initiated cell inspections at JCCC in the housing

unit where Decedent was detained. Allegedly Defendants Leggins, Glatczak and Wells entered

Decedent’s cell. Decedent was removed from his cell with his hands in wrist restraints behind his

back. Defendant Leggins allegedly stepped toward Decedent and pepper sprayed him in the face

at close range. Defendants Wells and Glatzchak allegedly took Decedent to the ground where

Defendant Case administered pepper spray at close range. Decedent was then escorted to the “day

room” where Defendant Davison allegedly ordered Decedent to be placed in a wrap restraint

device. Decedent was also placed in a spit mask, covering a portion of Decedent’s face, including

his mouth and nose. It is further alleged Cert Defendants placed a helmet on Decedent and

transported him to a “dry cell” where Defendants Koop, Bradshaw, Reynolds, and Nkowcha

monitored Decedent. Decedent was alleged to have struggled to breath for 30 minutes before

becoming unresponsive. Defendant Long examined the Decedent before emergency medical

services arrived at JCCC. Decedent was later pronounced dead due to positional asphyxiation as

the cause of death.

       Defendant Bradshaw answered questions as part of an internal investigation from the

Missouri Department of Corrections regarding the incident. Defendant Bradshaw also answered

questions from the Cole County Sheriff’s Department in their criminal investigation. On



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September 12, 2024, Defendant Bradshaw was charged in the Circuit Court of Cole County

Missouri with a count of accessory assault in the second degree and one count murder in the second

degree. See Case No. 24AC-CR00882-01.

       Defendant brings her motion seeking a stay of the proceedings against her pending

resolution of the respective criminal charges issued. Plaintiffs argue that a stay is inappropriate

because Defendant has already waived their Fifth Amendment right against self-incrimination.

Plaintiffs further argue that even if Defendant has not waived her Fifth Amendment right entirely,

Plaintiffs should be allowed to conduct discovery regarding topics for which she has already

provided testimony. Lastly, Plaintiffs argue that even if Defendant has not waived her Fifth

Amendment right, this matter does not meet the extraordinary requirements of a stay.

                                           STANDARD

       “The power to stay proceedings is incidental to the power inherent in every court to control

the disposition of the causes on its docket with economy of time and effort for itself, for counsel,

and for litigants.” Landis v. North Am. Co., 299 U.S. 248, 254 (1936). “How this can best be done

calls for the exercise of judgment, which must weigh competing interests and maintain an even

balance.” Id. at 254-55. “Justice must be done in both criminal and civil litigation. The rights of a

defendant in a criminal case must, of course, be protected. But this does not mandate a complete

disregard for the rights of civil litigants.” General Dynamics Corp. v. Selb Mfg. Co., 481 F.2d

1204, 1213 (8th Cir. 1973). “A stay of a civil trial until factually related criminal proceedings are

concluded is sometimes warranted. However, a civil defendant cannot hide behind a blanket

invocation of the Fifth Amendment privilege.” Koester v. American Republic Invs., Inc., 11 F.3d

818, 823 (8th Cir. 1993). “Therefore, to warrant a stay, a defendant must make a strong showing

either that the two proceedings are so interrelated that he cannot protect himself at the civil trial



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by selectively invoking his Fifth Amendment privilege, or that the two trials will so overlap that

effective defense of both is impossible.” Id.

                                            ANALYSIS

I.     Waiver of Fifth Amendment Rights

       Plaintiffs argue that Defendant Bradshaw has waived her Fifth Amendment right against

self-incrimination by voluntarily providing testimony to the Missouri Department of Corrections’

internal investigation and to the Cole County Sheriff’s Department investigators during the

criminal investigation into the death of Othel Moore, Jr. Defendant Bradshaw argues that her Fifth

Amendment right against self-incrimination was preserved and not infringed. Specifically, she

argues that when she gave a statement in the investigations prior to the criminal charges against

her, those statement made were not under oath, not pursuant to a subpoena, and not in a setting

that should have alerted Bradshaw to the need to invoke her privilege against self-incrimination.

       The Fifth Amendment provides that no person “shall be compelled in any criminal case to

be a witness against himself.” Minnesota v. Murphy, 465 U.S. 420, 426, 104 S. Ct. 1136, 1141, 79

L. Ed. 2d 409 (1984) (quoting U.S. Const. amend. V). This prohibition permits a person to refuse

to testify against himself at a criminal trial in which he is a defendant, but also “privileges him not

to answer official questions put to him in any other proceeding, civil or criminal, formal or

informal, where the answers might incriminate him in future criminal proceedings.” Id. (quoting

Lefkowitz v. Turley, 414 U.S. 70, 77, 94 S.Ct. 316, 322 38 L.Ed.2d 274 (1973)). For a defendant

to waive his Fifth Amendment right against self-incrimination, his waiver must be knowing,

intelligent, and voluntary. Miranda v. Arizona, 384 U.S. 436, 444, 86 S.Ct. 1602, 16 L.Ed.2d 694

(1966). A waiver is knowing and intelligent if it is “made with a full awareness of both the nature

of the right being abandoned and the consequences of the decision to abandon it.” United States v.



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Syslo, 303 F.3d 860, 865 (8th Cir. 2002). It is voluntary if it is “the product of a free and deliberate

choice rather than intimidation, coercion, or deception.” Id. “to determine whether a waiver or a

confession was voluntary, a court looks at the totality of the circumstances and must determine

whether the individual’s will was overborne.” Id. at 866. “There is a presumption against the

waiver of constitutional rights[.]” Williams v. Brewer, 509 F.2d 227, 232 (8th Cir. 1974) (citing

Glasser v. United States, 315 U.S. 60, 70-71 (1942)).

        Here, the Fifth Amendment right against self-incrimination applied to both the Missouri

Department of Corrections internal investigation and the Cole County Sheriff’s Department

criminal investigation. “If a witness … answers a question that both he and the government should

reasonably expect to incriminate him, the Court need ask only whether the particular disclosure

was ‘compelled’ within the meaning of the Fifth Amendment.” Minnesota v. Murphy, 465 U.S.

420, 428, 104 S. Ct. 1136, 1142, 79 L. Ed. 2d 409 (1984). There are no facts that suggest the

voluntary testimony given to the Missouri Department of Corrections or the Cole County Sheriff’s

Department were compelled. The Court finds that Defendant has waived her Fifth Amendment

right against self-incrimination to the extent covered in her voluntary responses to the Missouri

Department of Corrections internal investigation and the Cole County Sheriff’s Department

criminal investigation. For the reasons stated, Plaintiffs may pursue questioning on topics

voluntarily given by Defendant Bradshaw based on her responses to the Missouri Department of

Corrections and Cole County Sheriff’s Department.

II.     Motion to Stay Proceedings

        Defendant argues that given the interrelatedness of the civil and criminal cases there is no

reasonable way for Defendant to selectively assert her Fifth Amendment right against self-

incrimination or otherwise effectively defend both cases. Plaintiffs argue that Defendant has failed



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to make a strong showing that the two proceedings are so interrelated that she cannot protect herself

at the civil trial by selectively invoking her Fifth Amendment right.

        “[A] stay of a civil case to permit conclusion of a related criminal prosecution has been

characterized as an extraordinary remedy.” Aldridge v. City of St. Louis, Missouri, No. 4:18-CV-

1677 CAS, 2020 WL 223928, at *3 (E.D. Mo. Jan. 15, 2020) (quoting Liggins v. Cohen, 4:16-CV-

413 AGF, slip op. at 3 (E.D. Mo. Mar. 8, 2018)). The decision whether to say civil litigation in

deference to parallel criminal proceedings is discretionary and requires the Court to “assess and

balance the nature and substantiality of the injustices claimed on either side.” Id. (quoting General

Dynamics Corp. v. Selb Mfg. Co., 481 F.2d 1204, 1214-15 (8th Cir. 1973)). The Eighth Circuit has

not specified a set of factors to analyze whether a stay is necessary in light of parallel criminal

proceedings. Id. However, district courts in the Eighth Circuit have generally considered the

following factors adopted by the Ninth Circuit:

        (1) The interest of the plaintiffs in proceeding expeditiously with this litigation or
        any particular aspect of it and the potential prejudice to plaintiffs of a delay; (2) the
        burden which any particular aspect of the proceedings may impose on defendants;
        (3) the convenience of the court in the management of its cases and the efficient
        use of judicial resources; (4) the interests of person not parties to the civil litigation
        and (5) the interest of the public in the pending civil and criminal litigation.

White v. Feaman, 2018 WL 5831261, at *2 (E.D. Mo. Nov. 7, 2018) (quoting Keating v. Office of

Thrift Supervision, 45 F.3d 322, 325 (9th Cir. 1995)). The Court will examine each factor as it

relates to the current action.

    a. Interest of Plaintiffs

        Defendant has not stated an argument regarding the interest of the Plaintiffs. Plaintiffs

argue they have a legitimate interest in the expeditious resolution of their case. Additionally,

Plaintiffs argue they have a compelling interest in the prompt resolution of their cases as it seeks

to vindicate vital constitutional rights and uncover the full scope of Defendant’s actions.


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       According to records available on Missouri CaseNet, the state criminal case is not set for

Defendant Bradshaw. Defendant Bradshaw has a plea/trial setting hearing scheduled for April 14,

2025. The parties have not suggested how long it may be before the criminal case is resolved. The

Court finds that Plaintiff would suffer prejudice and unnecessary delay by a stay of all proceedings

in this case. Plaintiff’s prejudice and delay would be lessened by allowing discovery to proceed as

to the other Defendants. For the reasons stated, the Court finds this factor weights against a delay

of all proceedings in the case.

   b. Burden on Defendant

       Defendant argues if the civil case is not stayed, she will be forced to either defend the civil

case and assert her constitutional privilege against self-incrimination in connection with the vast

majority of substantive allegations in the civil case, risking an adverse inference and subjecting

her to potential civil liability, or defend the civil case at the cost of foregoing her Fifth Amendment

right against self-incrimination. Plaintiffs argue there is minimal prejudice to Defendants in

proceeding with discovery. Specifically, Plaintiffs argue that the Fifth Amendment does not exist

to shield Defendant from the consequences of her actions to give her an advantage in civil

litigation. Further, there are protections for Defendant’s Fifth Amendment rights without the need

to delay the civil proceedings such as sealing sensitive discovery or limiting the use of deposition

testimony. Finally, Plaintiffs points to the video evidence in this case that mitigates any potential

prejudice to the Defendant in the civil case.

       There is no dispute that the criminal prosecution and civil case arise out of the same facts

and involve nearly identical issues and witnesses. Defendant Bradshaw has been indicted and a

“stay of a civil case is most appropriate where a party to the civil case has already been indicted

for the same conduct.” Aldridge v. City of St. Louis, Missouri, No. 4:18-CV-1677 CAS, 2020 WL



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223928, at *4 (E.D. Mo. Jan. 15, 2020) (quoting S.E.C. v. Gerhardt, 2007 WL 1452236, at *2

(E.D. Mo. May 15, 2007)). However, the Court finding that Defendant Bradshaw having already

waived her Fifth Amendment right against self-incrimination as to the topics she has already

voluntarily discussed the Court finds that Defendant has not made a strong showing the actions

are so interrelated she cannot protect herself in civil discovery and at trial by selectively invoking

her Fifth Amendment right. The Court finds this factor weighs in favor of Plaintiffs.

   c. Convenience of the Court

       Defendant argues that a stay of this proceeding pending the outcome of the criminal case

may provide the parties and the Court with valuable guidance form the discovery, orders, verdicts,

and/or judgments in the criminal case. Defendant argues that staying the civil lawsuit while the

criminal case proceeds will conserve judicial resources as well as the resources of all parties

involved. Plaintiffs argue the Court has a strong interest in moving this case towards its conclusion

without unnecessary delay.

       Plaintiffs are correct that this Court has a strong interest in managing its docket and keeping

litigation moving without unnecessary delay. Given the facts and circumstances of this case the

Court finds that giving Defendant a partial stay would not require the expenditure of significant

judicial resources and could potentially simplify the issues or resolve liability questions in the civil

proceedings. See e.g., Ruszczyk v. Noor, 2018 WL 4759838, at *5 (finding stay in case where there

was substantial overlap between criminal proceedings and Section 1983 civil claims against same

defendant would conserve judicial resources, would likely lead to relevant discovery for the civil

proceedings, and could possibly simplify the issues or resolve liability questions in the civil

proceedings.). Plaintiffs would still be allowed to continue discovery towards those Defendants

other than Defendant Bradshaw. The Court finds this factor weighs slightly in favor of Defendant.



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    d. Interests of Persons Not Parties to the Civil Litigation and the Public

        Defendant argues the public interest in ensuring that the criminal case proceeds without

interference from the civil litigation. Plaintiffs argue the public has a vested interest in the timely

progression of this case, which raises significant constitutional issues under Section 1983 and

Monell v. Department of Social Services, 436 U.S. 658 (1978).

        Neither Defendant nor Plaintiffs make an argument as it relates to the interests of persons

not parties to the civil litigation. With respect to interests of persons not parties to the civil litigation

the Court finds that factor neutral. Regarding the interest of the public the Court recognizes the

public interest in the prompt resolution of this civil matter. See e.g., Ruszczyk v. Noor, 2018 WL

4759838, at *6. The Court also recognized the public interest in ensuring that the integrity of the

criminal process is not subverted. See e.g., State Farm Mut. Auto. Ins. Co. v. Healthcare

Chiropractic Clinic, Inc., 2016 WL 9307608, at *6 (D. Minn. Apr. 26, 2016). The Court finds that

the fifth factor to be neutral.

                                             CONCLUSION

        The Court having assessed the five factors for a stay of proceedings in an interrelated civil

and criminal case find a stay of proceedings is not warranted. For the reasons stated, Defendant

Bradshaw’s Motion to Stay Proceedings is DENIED.



IT IS SO ORDERED.

DATED: April 8, 2025                                      /s/ Douglas Harpool
                                                          DOUGLAS HARPOOL
                                                          UNITED STATES DISTRICT JUDGE




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